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       Attorney for Plaintiff Raul Uriarte-Limon
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 8
 9                           UNITED STATES DISTRICT COURT

10                         CENTRAL DISTRICT OF CALIFORNIA

11
12    RAUL URIARTE-LIMON,                           Case No.: 5:24-cv-01288-KK-SP
13                                                  STIPULATION TO DISMISS
                   Plaintiff,                       PURSUANT TO F.R.CIV.P. 41
14                                                  (a)(1)(A)(ii)
         vs.
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16
      CUSTOM TILE, STONE & DECOR,
17    INC.; LYNN DUDLEY; and DOES 1-
      10,
18
19                 Defendants.
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                   STIPULATION TO DISMISS PURSUANT TO F.R.CIV.P. 41 (A)(1)(A)(II) - 1
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 1          Pursuant to F.R.CIV.P. 41 (a)(1)(A)(ii), the parties hereby dismiss this
 2    action with prejudice as to all parties; each party to bear his/her/its own attorneys’
 3    fees and costs (except as Defendants may have agreed to the contrary as between
 4    each other as to their attorneys’ fees and costs). The case has been settled.
 5
 6          Respectfully submitted,
 7
 8     DATED: September 9, 2024                          VALENTI LAW APC
 9
10
                                                   By: /s/ Matt Valenti
11                                                       Matt Valenti
12                                                       Attorney for Plaintiff
                                                         Raul Uriarte-Limon
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15
      DATED: September 9, 2024                           THE KARLIN LAW FIRM LLP
16
17
                                                   By: /s/ Rex Reeves
18
                                                         Rex Reeves, Esq.
19                                                       Attorney for Defendants
20                                                       Custom Tile Stone & Décor, Inc.
                                                         Lynn Dudley
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                   STIPULATION TO DISMISS PURSUANT TO F.R.CIV.P. 41 (A)(1)(A)(II) - 2
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 1                               SIGNATURE ATTESTATION
 2
 3    Pursuant to Civil L.R 5-4.3.4(a)(2)(i), I hereby attest that all other signatories
 4    listed, and on whose behalf the filing is submitted, concur in this document’s
 5    content and have authorized the filing of this document with the use of their
 6    electronic signature.
 7
 8
 9     DATED: September 9, 2024                           VALENTI LAW APC
10
11                                                  By: /s/ Matt Valenti
12
                                                          Matt Valenti, Esq.
13                                                        Attorney for Plaintiff
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                    STIPULATION TO DISMISS PURSUANT TO F.R.CIV.P. 41 (A)(1)(A)(II) - 3
